         Case 2:20-cv-03512-WB Document 22 Filed 01/11/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHAL KENNEDY, SR.,                                    CIVIL ACTION
                Petitioner,                            NO. 20-3512

              v.

 MS MASON, THE DISTRICT
 ATTORNEY OF THE COUNTY OF
 PHILADELPHIA AND THE ATTORNEY
 GENERAL OF THE STATE OF
 PENNSYLVANIA,
                Respondent.

                                       ORDER

      AND NOW, this 11th day of January, 2021, upon consideration of pro se Defendant

Chal Kennedy, Sr.’s Emergency Motion for Bond (ECF 8), and the Government’s response

thereto (ECF 19), IT IS HEREBY ORDERED that the motion is DENIED WITHOUT

PREJUDICE.



                                                BY THE COURT:



                                                /s/ Wendy Beetlestone
                                                                   __
                                                WENDY BEETLESTONE, J.
